 Case: 1:07-cr-00047-HB-GWB   Document #: 402    Filed: 09/17/08   Page 1 of 2




           IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                      DIVISION OF ST. CROIX


UNITED STATES OF AMERICA            :           CRIMINAL ACTION
                                    :
          v.                        :
                                    :
JAMES A. AUFFENBERG, et al.         :           NO. 2007-0047


                                  ORDER

          AND NOW this 17th day of September, 2008, it is hereby
ORDERED that the motion of defendant James W. Ferguson, III, to

strike references to attorney-client privileged communications

(Doc. No. 215) is DENIED.

                         ____________________

          Defendant James W. Ferguson moves to strike from the

record a May 15, 2000 email authored by Marjorie Rawls Roberts

("Roberts"), then-counsel for defendants Kapok, Inc. and Kapok

Management, L.P., and directed to Alan Bronstein ("Bronstein"), a

certified public accountant.      Ferguson contends that Bronstein
was "within the control group" of Kapok, Inc. and Kapok

Management, L.P. at the time of the email and that the email is

therefore protected by the attorney-client privilege.              See, e.g.,

United States v. Amerada Hess Corp., 619 F.2d 980, 986 (3d Cir.

1980).   Nonetheless, Ferguson provides no evidence that Bronstein

was anything other than an outside accountant to defendants.

Ferguson points to nothing in the record to demonstrate that

Bronstein was within the "control group" of Kapok, Inc. or Kapok

Management, L.P.
 Case: 1:07-cr-00047-HB-GWB   Document #: 402   Filed: 09/17/08   Page 2 of 2



           We recognize that the attorney-client privilege may

attach to communications between a client's attorney and an

accountant retained to assist the attorney in providing legal

advice.   See United States v. Alvarez, 519 F.2d 1036, 1045 (3d

Cir. 1975).   However, “'[i]f what is sought is not legal advice

but only accounting service ... or if the advice sought is the

accountant's rather than the lawyer's, no privilege exists.'”

United States v. Antolini, 271 F. App'x 268, 271 n.1 (quoting

United States v. Kovel, 296 F.2d 918, 922 (2d Cir. 1961)).
The email at issue here was plainly not sent for the purpose of

assisting the lawyer, Roberts, in rendering legal advice to

defendants, and thus does not fall within the scope of the

attorney-client privilege.1     Accordingly, we are denying the

motion of defendant.




                                     BY THE COURT:



                                     /s/ Harvey Bartle III
                                     HARVEY BARTLE III                   C.J.
                                     SITTING BY DESIGNATION




1. We note that no accountant-client privilege exists under
federal law. Couch v. United States, 409 U.S. 322, 334 (1973).



                                   -2-
